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                                                                         6                               IN THE UNITED STATES DISTRICT COURT
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                                                                                                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                         9   UNITED STATES OF AMERICA,                               No. CR 06-00144-1 JSW
                                                      10                                    Plaintiff,                               ORDER RE RESPONSE TO
                                                                                                                                     SUBPOENA AND ORDER TO
                                                      11                       v.                                                    SHOW CAUSE TO DEFENDANT
United States District Court




                                                                                                                                     WHY DOCUMENTS SHOULD
                                                      12                     RENATO MENDOZA MEDINA,                                  NOT BE DISCLOSED TO
                                                                                                                                     GOVERNMENT
                                                      13                                    Defendant.
                               For the Northern District of California




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                                                      15                            On May 16, 2006, this Court issued an order granting in part and denying in part a
                                                      16                     motion for the issuance of a subpoena pursuant to Federal Rule of Criminal Procedure 17(c).
                                                      17                     The Court has received documents responsive to the request and by this Order orders those
                                                      18                     documents to be turned over to Defendant Renato Mendoza Medina.
                                                      19                            The Court FURTHER ORDERS Defendant Medina to show cause in writing by June 30,
                                                      20                     2006, as to why the documents should not be disclosed to the Government. Defendant Medina
                                                      21                     may seek to file his response to the Order to Show Cause under seal if necessary.
                                                      22                            IT IS SO ORDERED.
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                                                      24                     Dated: June 20, 2006
                                                                                                                                     JEFFREY S. WHITE
                                                      25                                                                             UNITED STATES DISTRICT JUDGE
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